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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

GM Casting House, Inc.
                                  Plaintiff,
v.                                                    Case No.: 1:24−cv−01821
                                                      Honorable Jeffrey I Cummings
Forever Companies, Inc.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 3, 2025:


         MINUTE entry before the Honorable Jeffrey I Cummings: The Court is in receipt
of defense counsel's motion to withdraw [45]. Telephonic motion hearing set for 3/10/25
at 10:30 a.m. Defendant Forever Companies, Inc. is directed to appear at the hearing
through newly retained counsel or a representative of the company. Defendant is advised,
however, that because it is an entity and not a person, it is unable to litigate pro se and
must retain new counsel should current defense counsel';s motion to withdraw be granted.
See In re IFC Credit Corp., 663 F.3d 315, 318 (7th Cir. 2011); United States v. Hagerman,
545 F.3d 579, 581−82 (7th Cir. 2008). Failure by a corporate entity to participate in the
litigation may lead to appropriate relief, including but not limited to a default judgment
against it. The previously set 2/10/25 tracking status hearing is stricken. Mailed notice (cc,
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